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                                             COMMONWEALTH OF MASSACHUSETTS

                  WORCESTER, SS.                                               SUPERIOR COURT DEPARTMENT
                                                                               C.A. NO.


                   ACADIA HEALTHCARE COMPANY, INC.
                   AND HABIT OPCO, LLC,

                               Plaintiffs

                   v.

                   CITY OF FITCHBURG, FITCHBURG
                                                                               COMPLAINT AND DEMAND FOR
                   ACTING BUILDING COMMISSIONER
                                                                               JURY TRIAL
                   FELIX ZEMEL, CITY OF FITCHBURG
                   ZONING BOARD OF APPEALS and its
                   members LAUREN McNAMARA,
                   MICHAEL O’LAUGHLIN, CHRISTINE
                   TREE, BRIAN GALLAGHER and GREG
                   BABINAEU,

                               Defendants



                  I.     INTRODUCTION

                  1. This matter involves an ongoing pattern of discriminatory actions taken by officials of the

                        City of Fitchburg (“City”) that have repeatedly delayed and impeded attempts by the

                        Plaintiffs, Acadia Healthcare Company, Inc., and its subsidiary Habit Opco, LLC

                        (collectively, “Acadia”) to provide outpatient treatment services for individuals suffering

                        from opioid use disorder. This discriminatory conduct began in 2021, when the City

                        amended its zoning ordinance to require a discretionary special permit for clinics such as

                        those operated by Acadia after Acadia consulted with various City officials regarding its

                        intent to relocate its clinic at 155 Airport Road (the “Airport Road Site”) to an existing

                        medical building at 370 Lunenburg Street (the “Lunenburg Street Site”). The Fitchburg


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                        Zoning Board of Appeals (the “ZBA”) thereafter denied Acadia’s request for a special permit

                        in a decision filed with the Fitchburg City Clerk on or about August 31, 2021.

                  2. This pattern of discrimination has continued to this day. Specifically, the City’s Acting

                        Building Commissioner has now denied Acadia’s application for a building permit to

                        renovate its existing clinic at the Airport Road Site, determining without any justification that

                        the clinic constitutes an “Ambulatory Care Facility” and that the purely interior renovations

                        proposed by Acadia cannot be undertaken without satisfying costly and impracticable

                        requirements that apply to such facilities.

                  3. These acts by the City and its instrumentalities had both the intention and effect of

                        discriminating against the Acadia and its patients in violation of the Fourteenth Amendment

                        to the United States Constitution, the Americans With Disabilities Act, 42 U.S.C. § 12101, et

                        seq. (the “ADA”), the Rehabilitation Act of 1973, 29 U.S.C. § 794, et seq. (the

                        “Rehabilitation Act”), the state Zoning Act, G.L. c.40A, §3, and the state anti-discrimination

                        statute, G.L. c.151B.

                  II.    PARTIES

                  4. Plaintiff Acadia Healthcare Company, Inc. is foreign corporation with a principal office at

                        6100 Tower Circle, Suite 100, Franklin, TN 37067.

                  5. Plaintiff Habit Opco, LLC is foreign limited liability company with a principal office at 6100

                        Tower Circle, Suite 100, Franklin, TN 37067.

                  6. Defendant City of Fitchburg (“City”) is a municipal corporation with a principal place of

                        business at 166 Boulder Drive, Suite 108, Fitchburg, Massachusetts.

                  7. Defendant Felix Zemel is the Acting Building Commissioner of the City.




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                  8. Defendant Fitchburg Zoning Board of Appeals (“ZBA”) is a duly constituted board of the

                         City, established pursuant to G.L. c.40A, §12.

                  9. Defendants, Lauren McNamara, Michael McLaughlin, Christine Tree, Brian Gallagher, and

                         Greg Babineau were the members of the ZBA at the dates of the public hearing and issuance

                         of the ZBA’s decision to deny Acadia a special permit, filed with the City Clerk on or about

                         August 31, 2021.

                  III.      STATEMENT OF FACTS

                            A. The Opioid Crisis and Acadia’s Mission

                  10. For many years, Opioid Use Disorder (“OUD”) has wreaked havoc on public health and

                         safety in communities across the United States, with more than 81,000 fatal opioid overdoses

                         estimated in the United States in 2023, according to the Centers for Disease Control, National

                         Center for Health Statistics.

                  11. Also in 2023, there were over 2,100 opioid-related deaths in Massachusetts alone, according

                         to the Massachusetts Department of Public Health.

                  12. The City itself experiences dozens of fatal opioid overdoses each year and hundreds of

                         nonfatal overdoses. It experiences a higher opioid fatality rate than surrounding

                         communities, according to a grant application it submitted to the U.S. Department of Justice

                         Bureau of Justice Assistance in 2021.

                  13. In an effort to recognize and combat this growing epidemic, on March 10, 2016, the United

                         States Senate passed the Comprehensive Addiction and Recovery Act of 2016, which

                         documented the abuse of heroin and prescription opioid painkillers as having “a devastating

                         effect on public health and safety in communities across the United States,” with the number

                         of drug overdose deaths now surpassing the number of traffic accident deaths:



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                                   According to the Centers for Disease Control and Prevention, drug overdose
                                   deaths now surpass traffic accidents in the number of deaths caused by injury in
                                   the United States. In 2014, an average of more than 120 people in the United
                                   States died from drug overdoses every day.

                      Comprehensive Addiction and Recovery Act of 2016, S.524, 114 th Cong., § 2.

                  14. The opioid crisis was declared a National Emergency in 2017.

                  15. Acadia is a national healthcare company that provides counseling and medication assisted

                      treatment (“MAT”) for individuals recovering from OUD.

                  16. Acadia provides medically supervised treatment and counseling to patients recovering from

                      opioid addiction on an out-patient basis.

                  17. Acadia’s patients are protected under the ADA and the Rehabilitation Act.

                  18. Acadia’s model incorporates a team of medical professionals, including physicians, therapists

                      and clinicians who examine, test, counsel and treat patients on site.

                  19. Since 2001, Acadia has operated a counseling and treatment facility in the City at the Airport

                      Road Site.

                  20. Acadia operates over 250 similar facilities across the country, including 16 in Massachusetts.

                  21. There is no record of traffic or law enforcement problems relating to Acadia’s operations

                      within the City. Nor is there any record of any problem with the ability of Acadia’s patients

                      to exit its facility during any alarm or other emergency.

                           B. The Lunenburg Street Site

                  20. In late 2020/early 2021, Acadia approached City officials to discuss its intent to relocate its

                      treatment facility from the Airport Road Site to the Lunenberg Street Site.

                  21. Acadia’s lease of the Airport Road Site was soon to expire, and Acadia desired to relocate

                      the facility to a location that was more convenient, accessible, comfortable and modern, in

                      order to better serve its patients.

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                  22. Shortly thereafter, the City amended its Zoning Ordinance.

                  23. The amended Zoning Ordinance for the first time required a special permit to operate a

                      medical treatment center in the Commercial Zoning District, in which the Lunenburg Street

                      Site is located.

                  24. Accordingly, on or about April 9, 2021, Acadia filed an application for a special permit to

                      operate its clinic at the Lunenburg Street Site.

                  25. No City department or board submitted any comments to the ZBA expressing concerns

                      regarding traffic or purported security problems regarding the proposed use of the Lunenburg

                      Street Site. At no time prior to the public hearing did any City official advise Acadia that

                      traffic was a concern.

                  26. The Lunenburg Street Site exceeds the minimum lot size of 65,000 square feet required

                      under Zoning Ordinance. It also complies with the frontage, lot width, height, loading and

                      parking requirements.

                  27. Acadia would be one of multiple tenants in an existing medical building containing

                      approximately 18,830 square feet of gross floor area.

                  28. Pursuant to the Zoning Ordinance, one parking space per 400 square feet of gross floor area

                      is required; therefore, 48 parking spaces are required for the existing building. The

                      Lunenburg Street Site contains 94 parking spaces.

                  29. The site is accessed by two curb cuts onto Lunenburg Street, both of which meet the

                      requirements of the Zoning Ordinance.

                  30. The Lunenburg Street Site also meets the parking setback requirements of parking spaces

                      being set back at least 3 feet from any lot line, sidewalk, or building, pursuant to the Zoning

                      Ordinance.



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                  31. It contains 33,598 square feet of landscaping, far exceeding the minimum of 2,322 square

                      feet required pursuant to the Zoning Ordinance.

                  32. The Lunenburg Street Site does have a few minor zoning nonconformities, including drive

                      aisle widths and the buffer area between the existing parking area and abutting residential

                      district between the property. These features are lawfully preexisting nonconformities,

                      which are protected, pursuant to G.L. c. 40A, §6 and Section 181.332 of the Zoning

                      Ordinance. Upon information and belief, the City has never taken any enforcement action in

                      connection with any medical use of the property based upon these or any other zoning

                      nonconformity.

                  33. Acadia’s use is entitled to special consideration under the ADA.

                  34. Moreover, patients receiving treatment from Habit Opco are considered persons with

                      disabilities under the ADA. Pursuant to Section 12182 of the ADA:

                           No individual shall be discriminated against on the basis of disability in the full
                           and equal enjoyment of the goods, services, facilities, privileges, advantages, or
                           accommodations of any place of public accommodation by any person who owns,
                           leases (or leases to), or operates a place of public accommodation.

                  35. Section 12182(b)(2)(A)(ii) of the ADA provides that unlawful discrimination includes:

                           A failure to make reasonable modifications in policies, practices, or procedures
                           when such modifications are necessary to afford such goods, services, facilities,
                           privileges, advantages, or accommodations to individuals with disabilities, unless
                           the entity can demonstrate that making such modifications would fundamentally
                           alter the nature of such goods, services, facilities, privileges, advantages, or
                           accommodations.

                  36. The public hearing before the ZBA commenced on May 11, 2021, and was continued to June

                      8, 2021, when the public hearing was closed.

                  37. During the course of the public hearing, the ZBA accepted and agreed with numerous

                      comments from neighbors, other tenants of the property and City officials expressing overtly

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                      prejudiced and discriminatory views, including unfounded “concerns” regarding increased

                      crime and other misbehavior of patients seeking treatment at the facility. As noted, Acadia

                      has operated at its current facility in the City for decades without incident.

                  38. Other commenters noted that the Lunenburg Street Site is at the “gateway” of the City (on

                      the boundary with the neighboring Town of Lunenburg) and questioned what kind of

                      “message” it would send to have Acadia’s clinic located on the municipal boundary.

                  39. The building on the Lunenburg Street Site is set far back from the public way, separated by

                      landscaping and an expansive parking lot.

                  40. In contrast, a retail marijuana store is located directly across the street at 371 Lunenburg

                      Street, in plain view of the public way.

                  41. During the course of the public hearing, members of the ZBA (including its chair), the City

                      Council (including the son of the then Mayor) and others repeatedly and with open hostility

                      demanded that Acadia justify its desire to relocate from the Airport Road Site. Such

                      questioning was patently discriminatory. There is no requirement in the Zoning Ordinance or

                      any other regulation that requires an applicant to justify its reasons for seeking to relocate a

                      business. Upon information and belief such demands are not made of any other special

                      permit applicants.

                  42. In any case, Acadia amply demonstrated why it sought to relocate its facility.

                  43. The new proposed facility would have been located on a 2.07 acre site, which is already

                      improved with a 17,978 gross square feet single-story medical office building constructed in

                      or about 1994 for Mallon Medical Center and ample parking.

                  44. In contrast, Acadia’s facility at the Airport Road Site contains approximately 5,625 square

                      feet of area, approximately 1,700 square feet of which is not ADA accessible.



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                  45. Acadia would have occupied approximately 7,660 square feet of floor area at the Lunenburg

                      Street Site, an increase in interior area of over 36%.

                  46. Moreover, Acadia explained that costly renovations would be required at the Airport Road

                      Site to make it somewhat more efficient and handicap accessible, resulting in the loss of

                      additional usable square footage.

                  47. The Airport Road location provided just four stations for dispensing medication, and these

                      stations lack appropriate privacy enclosures for patients. In contrast, the facility at the

                      Lunenburg Street Site would have provided six stations, each with appropriate privacy

                      enclosures.

                  48. Additionally, the Airport Road Site contains only one safe for storage of medication, without

                      room to install a second. The significance of this deficiency cannot be overstated; the lack of

                      sufficient medication storage space is not consistent with standard practice and places patient

                      care at significant risk. The new facility at the Lunenburg Street Site, in contrast, would

                      contain two safes for adequate medication storage.

                  49. One of the most significant deficiencies in the Airport Road Site is the inadequacy of the

                      patient dispensary waiting area. The existing patient waiting area is only 688 square feet.

                      Patients have often been required to queue outside, in public view and subject to inclement

                      weather, in order to obtain treatment. The new facility would have allowed for a

                      significantly larger and more comfortable waiting area, and Acadia repeatedly agreed that it

                      would accept a condition prohibiting outdoor queuing.

                  50. Acadia further explained that the Airport Road Site had just 16 staff offices, two or three of

                      which would be lost as a result of required renovations, leaving just 13 or 14 offices. In

                      contrast, the proposed facility would have contained 24 offices for staff and patient



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                  counseling, and the entire facility would have been on one level, so that patients with limited

                  mobility would not be forced to use a wheelchair lift to access their treatment.

              51. Nevertheless, the ZBA voted unanimously at the close of the public hearing to deny Acadia’s

                  Application.

              52. The ZBA’s Decision was filed with the City Clerk on or about August 31, 2021.

              53. The ZBA Decision states:

                      During both meetings, the Board received numerous comments via emailed letters and
                      virtual participation, from neighbors, public officials, and medical professionals currently
                      practicing at the Locus expressing their concern regarding this petition since this is a
                      property bounded with residential neighborhoods on two sides. Objects included perceived
                      safety, increased traffic, impaired driving, queuing, an influx of activity conflicting with
                      the residential neighborhood, and visual impact on the City’s commercial corridor.

              54. These stated traffic concerns are unsupported, discriminatory and pretextual.

              55. Acadia performed a substantial traffic study, the detailed findings of which were presented to

                  the ZBA as part of its application, and its traffic engineer was present during the public hearing

                  to address any questions regarding perceived traffic issues.

              56. Acadia’s traffic expert testified to the ZBA that numerous uses allowed by right under the

                  Zoning Ordinance would produce substantially more traffic than the proposed use.

              57. The Lunenburg Street Site is located on a heavily traveled commercial thoroughfare containing

                  large box retailers and various other commercial and light industrial uses, and Acadia’s

                  proposal would not have resulted in any appreciable traffic impacts.

              58. The ZBA ignored the well-reasoned findings of Habit Opco’s traffic consultant, even though

                  it failed to solicit or receive any traffic comments from an independent traffic consultant or the

                  City’s engineering or public safety departments.

              59. The ZBA Decision also states:



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                      In addition, several physicians practicing at the Locus, although valuing the services
                      provided by the Petitioner, expressed concern about the proposed co-location of a medical
                      treatment center, citing interactions with their patients, the effect of perceived safety issues
                      on patient retention, difficulty in recruiting and retaining physicians to that location
                      affecting continuation of medical services, and the proximity of a medical treatment center
                      to a marijuana retailer.

              60. This finding is overtly discriminatory and explicitly panders to the unfounded animus toward

                  Acadia’s patients expressed by residents and City officials during the ZBA’s public hearing.

                  Moreover, it ignored the facts that Acadia’s application proposed construction of a dedicated

                  entrance for its facility and that it repeatedly offered to accept a condition of approval that

                  would prohibit any queuing whatsoever outside the proposed facility.

              61. In addition to its request for a special permit, Acadia’s submission to the ZBA explicitly

                  requested a reasonable accommodation pursuant to the Americans with Disabilities Act

                  (“ADA”) and the Fair Housing Amendments Act (“FHAA”).

              62. The ZBA failed even to address Acadia’s request for reasonable accommodations.


                      C. The Airport Road Site

              63. As a result of the ZBA’s patently unlawful and discriminatory conduct, Acadia was forced to

                  exercise a lease renewal at the Airport Road Facility, thereby precluding it from relocating

                  and rendering an appeal of the ZBA Decision useless.

              64. Instead, Acadia was forced to turn its attention to the costly, time-consuming and less

                  efficient alternative of renovating the smaller Airport Road Site, which was the clearly

                  intended result of the ZBA’s discriminatory decision.

              65. Acadia’s clinic in the City serves patients who are in recovery from OUD and are fully

                  capable of functioning in society. They hold jobs, run businesses, care for families and attend

                  school.

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              66. Patients arrive at the clinic independently, receive their services and leave independently.

                  Some drive to the clinic, some walk, and some take public or private transportation.

              67. The treatment provided by Acadia does not in any way incapacitate patients or render them

                  incapable of self-preservation. To the contrary, most patients receive their treatment in the

                  morning and depart directly for work, school and their other daily activities.

              68. Patient visits typically last fifteen minutes or less.

              69. At no point during these visits would a patient be unable to evacuate the clinic under their

                  own power in the case of an emergency.

              70. Patients never so much as lie down in the clinic.

              71. On or about January 29, 2024, Acadia applied for a building permit to conduct interior

                  renovations to its facility intended to increase its accessibility, comfort and efficiency

                  (“Renovation Project”). No expansion or exterior alterations are proposed.

              72. On or about February 16, 2024, the Building Commissioner asked Acadia for “an

                  explanation as to how this does not classify as a Use Group B Ambulatory Care Facility.”

              73. The Building Commissioner also suggested that Acadia would be required to obtain a special

                  permit from the ZBA, even though Acadia has operated its clinic at the Airport Road Site

                  since prior to the 2021 Zoning Amendment that created the special permit requirement and is

                  therefore a lawfully preexisting nonconforming use.

              74. As further set forth below, classifying Acadia’s clinic as an Ambulatory Care Facility would

                  impose costly and impracticable requirements that would further delay and potentially

                  prevent Acadia from proceeding with its Renovation Project.

              75. Pursuant to Section 202 of the Massachusetts Building Code, Ambulatory Care Facilities are

                  defined as, “Buildings or portions thereof used to provide medical, surgical, psychiatric,



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                  nursing or similar care on a less than 24-hour basis to individuals who are rendered incapable

                  of self-preservation.”

              76. On February 19, 2024, Acadia’s Architect responded, “The patients at this facility are not

                  rendered incapable of self-preservation. Hence, this facility would not be categorized as an

                  ambulatory care facility.”

              77. On or about February 23, 2024, Acadia’s Regional Vice President further responded to the

                  Building Commission’s request, explaining that the MAT services provided at the clinic do

                  “not render persons incapable of self-preservation by our services and furthermore, the

                  facility does not assume the responsibility for the care of incapable individuals.”

              78. No reply was received from the Building Commissioner for over two months.

              79. Accordingly, Acadia was forced to engage legal counsel, who issued a third written response,

                  dated April 30, 2024, again explaining that, since none of the Clinic’s patients are

                  incapacitated or incapable of self-preservation either when they arrive at the Clinic or as a

                  result of their treatment, the clinic cannot be considered an Ambulatory Care Facility. He

                  also explained that no special permit could be required, since Acadia was not proposing to

                  change or expand its preexisting nonconforming use.

              80. Again, the Building Commissioner provided no response for over a month.

              81. Finally, on June 5, 2024, the Building Commissioner issued a decision denying Acadia’s

                  application (“Building Commissioner Decision”).

              82. The Building Commissioner Decision is based solely upon a determination that the Clinic is

                  an Ambulatory Care Facility.




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              83. The Building Commissioner Decision does not acknowledge or address Acadia’s multiple

                  and detailed submissions regarding the issue and provides no legal or factual basis for the

                  determination that Acadia’s clinic constitutes an Ambulatory Care Facility.

              84. As noted above, the state Building Code defines Ambulatory Care Facilities as “Buildings or

                  portions thereof used to provide medical, surgical, psychiatric, nursing or similar care on a

                  less than 24-hour basis to individuals who are rendered incapable of self-preservation.

              85. The Code provides the following definition of “incapable of self-preservation:”

                              Persons who, because of age, physical limitations, mental limitations, chemical
                              dependency or medical treatment, cannot respond as an individual to an
                              emergency situation.

              86. The term is more specifically defined by 104 CMR 28.14(1)(a), as follows:

                              Self-preservation means the capability both mentally and physically to take action
                              to preserve one's own life, specifically to egress the building in which one resides
                              unassisted within 2 1/2 minutes.

              87. The clinic operated by Acadia at the Airport Road Site clearly does not constitute an

                  Ambulatory Care Facility. None of Acadia’s other clinics has ever been classified as an

                  Ambulatory Care Facility

              88. None of the counseling or treatment provided by Acadia “renders the patients incapable of

                  taking action for self-preservation”—e.g., exiting the building in the event of a fire or other

                  emergency.

              89. It is apparent that the Building Commissioner unilaterally concluded that Acadia’s patients

                  are innately incapable of exiting the building without assistance in the event of an emergency

                  simply because they are in recovery from OUD. Such a conclusion is patently discriminatory

                  and unfounded.




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              90. Acadia’s patients are active members of the community, who choose to receive MAT at the

                  clinic, often early in the morning so that they can continue with their normal daily activities,

                  including going to jobs, attending school, and caring for family members.

              91. Patients are not sedated or put under general anesthesia at the clinic. They arrive and leave

                  under their own power, generally within a matter of minutes.

              92. Simply put, this is not a facility in which individuals receive treatment that would make it

                  difficult for them to evacuate in the event of an emergency.

              93. Indeed, the Building Commissioner’s discriminatory determination that Acadia’s patients

                  (unlike the patients of a chiropractor, dentist, physical therapist or other medical provider)

                  are inherently incapable of self-preservation is not only factually unsupported, it is also

                  contrary to the the Building Code itself, which recognizes that residents of alcohol and drug

                  treatment facilities are indeed capable of self-preservation. See 780 CMR 310.6(1) (stating,

                  in defining Group R-4 uses, “[t]he persons receiving care are capable of self-preservation.

                  This group shall include, but not be limited to, the following: 1. Alcohol and drug

                  centers…”).

              94. In addition, just as the ZBA failed to acknowledge or address Acadia’s request for reasonable

                  accommodations under the ADA and Rehabilitation Act when it denied Acadia’s special

                  permit application for the Lunenburg Street Site, the Building Commissioner likewise

                  ignored Acadia's request for reasonable accommodations in denying its request for a building

                  permit for the Renovation Project.

              95. Acadia has appealed the Building Commissioner’s Decision to the state Building Code

                  Appeals Board, pursuant to G.L. c.143, §100.




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              96. As a result of the Building Commissioner’s discriminatory conduct, Acadia has incurred

                  unnecessary delay and expense in its efforts to undertake the Renovation Project—a project

                  that Acadia was forced to undertake only as a result of the discriminatory conduct of the

                  ZBA in denying its request for a special permit to relocate to the Lunenburg Street Site.




                                                        COUNT I
                                   VIOLATION OF AMERICANS WITH DISABILITIES ACT,
                                            42 U.S.C. SECTION 12101, et seq.

              97. Acadia hereby incorporates by reference the allegations and facts set forth in paragraphs 1

                  through 96 as if fully restated herein.

              98. The ADA provides that no qualified individual with a disability shall, by reason of such

                  disability, be excluded from participation in or be denied the benefits of the service, program

                  or activity of a public entity or be subjected to discrimination by such entity. The ADA

                  makes it unlawful for a public entity, in determining the site or location of a facility, to make

                  selections that have the purpose or effect of excluding or discriminating against individuals

                  with disabilities from, denying them benefits of, or otherwise subjecting them to

                  discrimination. 28 C.F.R. §35.130(b)(4). Pursuant to Section 12132 of the ADA:

                      No qualified individual with a disability shall, by reason of such disability, be
                      excluded from participation in or be denied the benefits of the services, programs,
                      or activities of a public entity, or be subjected to discrimination by any such entity.

              99. Acadia’s patients are persons recovering from or receiving treatment for addiction and are

                  disabled individuals for purposes of the ADA. 42 U.S.C. §12102(2) and 28 C.F.R. §35.104.

              100.    The City, ZBA and Building Commissioner, are qualifying public entities within the

                  meaning of the ADA pursuant to 42 U.S.C. §12131(1)(A).



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              101.    Pursuant to 42 U.S.C. Section 12182(b)(2)(A)(ii), prohibited discrimination under the

                  ADA includes:

                      A failure to make reasonable modifications in policies, practices, or procedures, when
                      such modifications are necessary to afford such goods, services, facilities, privileges,
                      advantages, or accommodations to individuals with disabilities, unless the entity can
                      demonstrate that making such modifications would fundamentally alter the nature of such
                      goods, services, facilities, privileges, advantages, or accommodations…

              102.    Acadia requested reasonable accommodations from the ZBA and the Building

                  Commissioner.

              103.    The ZBA Decision expresses unsubstantiated concerns about traffic impacts from

                  Acadia’s Application, which were nothing more than an illegal pretext to discriminate

                  against Acadia’s patients with disabilities.

              104.    Indeed, the ZBA did not even request a peer review of the traffic study offered by

                  Acadia, nor did it solicit or offer any independently verified traffic data before it voted to

                  deny the Application.

              105.    Moreover, the ZBA acted with overt discriminatory intent, favorably accepting numerous

                  comments from members of the public and the City Council expressing manifest prejudice

                  against Acadia’s patients, including unfounded allegations that the facility would result in

                  increased crime and other misbehavior, despite the lack of any evidence that Acadia’s

                  existing facility has had any such effect in the decades it has operated in the City.

              106.    The ZBA further accepted the statements of other medical tenants of the Lunenburg

                  Street Site that their patients—because of the pervasive prejudice against individuals

                  recovering from OUD—would be nervous and “scared off” if Acadia’s Application were

                  approved.




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              107.    Astoundingly, the ZBA actually incorporated these patently discriminatory sentiments in

                  its decision.

              108.    The Building Commissioner’s denial of Acadia’s request for a building permit to

                  renovate its clinic at the Airport Road Site, based upon his unfounded determination that

                  Acadia’s patients are incapable of self-preservation, was similarly discriminatory.

              109.    The aforementioned decisions of the ZBA and the Building Commissioner, as well as

                  their failure to respond to Acadia’s requests for reasonable accommodations, violated the

                  ADA to the detriment of Acadia and its patients with disabilities.

                                                         COUNT II
                                          VIOLATION OF REHABILITATION ACT OF 1973

              110.                Acadia hereby incorporates by reference the allegations and facts set forth in

                  paragraphs 1 through 109 as if fully restated herein.

              111.                The Rehabilitation Act, 29 U.S.C. § 794, et seq., provides that no qualified

                  individual with a disability shall, solely by reason of her or his disability, be excluded

                  from participation in or be denied the benefits of or be subjected to discrimination under

                  any program or activity receiving federal financial assistance. 29 U.S.C. § 794(a).

              112.                Upon information and belief, the City of Fitchburg receives federal financial

                  assistance, including without limitation through federal grant programs such as the

                  Community Development Block Grant program, which is funded by the U.S. Department of

                  Housing and Urban Development.

              113.                Section 508 of the Rehabilitation Act defines "program or activity" as "all of the

                  operations of specific entities, including "a department, agency, special purpose district, or

                  other instrumentality of a State or of a local government." 29 U.S.C. § 794(b)(1)(A).




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              114.             Zoning and permitting decisions by a municipality are normal functions of a

                  governmental entity and thus, are covered by the Rehabilitation Act.

              115.             Acadia’s patients are qualified persons under the Rehabilitation Act with

                  disabilities that substantially impair one or more major life activities.

              116.             The first criterion for treatment at Acadia’s facility is that patients be diagnosed

                  as suffering from OUD.

              117.             While receiving treatment at Acadia’s facility, patients are continually evaluated

                  to ensure that patients are not using any illegal, controlled substances. As a result, its

                  patients are "qualified persons with disabilities" within the meaning of the Rehabilitation

                  Act, 29 U.S.C. § 706(8)(C)(ii)(II).

              118.             The City, ZBA and Building Commissioner are qualifying public entities

                  within the meaning of the Rehabilitation Act.

              119.             Section 508 of the Rehabilitation Act constitutes a general prohibition against

                  discrimination on the basis of disability by public entities.

              120.             The ZBA and the Building Commissioner have violated the Rehabilitation

                  Act by, inter alia: (i) refusing to provide reasonable accommodations to the disabled

                  individuals serviced by Acadia; (ii) allowing prejudice against disabled individuals to

                  dictate the outcome of their zoning and permitting decisions; (iii) discriminating against

                  disabled individuals; and (iv) failing to grant or even respond to Acadia’s requests for

                  reasonable accommodations.

                                                      COUNT III
                                              VIOLATION OF 42 U.S.C. § 1983

              121.    Acadia hereby incorporates by reference the allegations and facts set forth in paragraphs

                  1 through 120 as if fully restated herein.

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              122.    Acadia and its patients are members of a protected class.

              123.    The defendants have treated Acadia differently from similarly situated applicants, who do

                  not serve patients recovering from OUD.

              124.    The above-described actions of the defendants were taken under color of law and

                  constitute state action.

              125.    The defendants’ conduct was arbitrary, capricious, unreasonable, malicious,

                  discriminatory and in bad faith, and shocks the conscience.

              126.    Accordingly, the defendants’ actions violate the due process and equal protection clauses

                  of the Fourteenth Amendment to the United States Constitution and 42 U.S.C. §1983.

                                                         COUNT IV
                                                  VIOLATION OF G.L. c.40A, §3

              127.    Acadia hereby incorporates by reference the allegations and facts set forth in paragraphs

                  1 through 126 as if fully restated herein.

              128.    The above-described actions of the defendants violated the provisions of G.L. c. 40A, §3,

                  which states, in pertinent part:

                         Notwithstanding any general or special law to the contrary, local land use and health
                         and safety laws, regulations, practices, ordinances, by-laws and decisions of a city or
                         town shall not discriminate against a disabled person. Imposition of health and safety
                         laws or land-use requirements on congregate living arrangements among non-related
                         persons with disabilities that are not imposed on families and groups of similar size or
                         other unrelated persons shall constitute discrimination. The provisions of this
                         paragraph shall apply to every city or town, including, but not limited to the city of
                         Boston and the city of Cambridge.

                                                        COUNT VI
                                                  VIOLATION OF G.L. c.151B

              129.    Acadia hereby incorporates by reference the allegations and facts set forth in paragraphs

                  1 through 128 as if fully restated herein.

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              130.    Pursuant to G.L. c. 151B, §4, it is unlawful “[f]or any person to directly or indirectly

                  induce, attempt to induce, prevent, or attempt to prevent the sale, purchase, or rental of any

                  dwelling or dwellings by: (a) implicit or explicit representations regarding the entry or

                  prospective entry into the neighborhood of a person or persons of a particular age, race,

                  color, religion, sex, gender identity, national or ethnic origin, or economic level or a

                  handicapped person, or a person having a child, or implicit or explicit representations

                  regarding the effects or consequences of any such entry or prospective entry…”

              131.    All political subdivisions of the Commonwealth are “persons” for purposes of Chapter

                  151B.

              132.    The statute defines the term ''handicap'' to mean “(a) a physical or mental impairment

                  which substantially limits one or more major life activities of a person; (b) a record of having

                  such impairment; or (c) being regarded as having such impairment, but such term shall not

                  include current, illegal use of a controlled substance as defined in section one of chapter

                  ninety-four C.”

                      133.    The defendants violated the rights of Acadia and its patients by exercising their

              powers to regulate land use in a way that discriminates against disabled persons without

              justification or cause.




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                                                    REQUESTS FOR RELIEF

                      WHEREFORE, Acadia prays that this Honorable Court enter Judgment in its favor and

              against the Defendants, jointly and severally, and requests that the Court:

                      A. Declare that the defendants’ conduct violated the rights of Acadia and its patients

                          under the Fourteenth Amendment to the United States Constitution, 42 U.S.C. §1983,

                          the ADA, the Rehabilitation Act, G.L. c.40A, §3 and G.L c.151B.

                      B. Award Acadia compensatory damages, including without limitation lost profits, lost

                          opportunity and increased permitting costs.

                      C. Award Acadia punitive damages based upon the defendants’ willful and knowing

                          violation of its civil rights.

                      D. Award Acadia its costs, expenses and counsel fees.

                      E. Enjoin the defendants from engaging in further discriminatory conduct against Acadia

                          or its patients.

                      F. Grant such other and further relief as the Court deems just.




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                                                       JURY DEMAND

                      Acadia respectfully demands a trial by jury on all issues so triable herein.

                                                            Respectfully submitted,


                                                            PLAINTIFFS
                                                            By their attorney,


                                                            __/s/ Jonathan M. Silverstein_____________
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